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                                                     Exhibit 1
                    Designations of Deposition Testimony of Jeffrey Archer (September 23, 2022)


              Plaintiffs’ Affirmative Designations                       Defendants’ Counter Designations
Start Page/Line           End Page/Line          Defendants’    Start Page/Line  End Page/Line        Plaintiffs’
                                                  Objections                                          Objections
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